Case 2:21-cv-05660-PBT Document 2 Filed 01/03/22 Page 1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

Greg McMahon and Adam Goldberg

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(¢) Attomeys (Firm Name, Address, and Telephone Number)

Sauder Schelkopf, LLC, 1109 Lancaster Avenue,
Berwyn, PA 19312

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS

NOTE:
THE TRACT

Attomeys (i Known)

 

County of Residence of First Listed Defendant

IN LAND CONDEMNATION CA

Generac Power Systems, Inc.

Waukesha (W.

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

aS. USE THE LOCATION OF

 

Il. BASIS OF JURISDICTION (Place an "X" in One Box Only)

(J! U.S. Government
Plaintiff

CO 2 U.S. Government
Defendant

EC] 3 Federal Question

[x] 4 Diversity

(U.S, Government Not a Party)

(Indicate Citizenship of Parties in Item II[)

 

(For Diversity Cases Only)

II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State [x] 1 El 1! Incorporated or Principal Place Cl4 (44
of Business In This State
Citizen of Another State E] 2 oO 2 Incorporated and Principal Place oO 5 [x] 5
of Business In Another State
Citizen or Subject of a ()3 (3 Foreign Nation Ole (Je

Foreign Country

 

IV. NATURE OF SUIT (Place an “X" in One Box Only)

Click here for: Nature of S

 

uit Code Descriptions.
OTHER STATUTES _ |

 

 
  

 

 

 

 
 

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY
110 Insurance PERSONAL INJURY PERSONAL INJURY — [_]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CJ 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 372%a))
140 Negotiable Instrument Liability CT 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical P ‘ 410 Antitrust
& Enforcement of Judgment] Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers" Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability LJ 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
CT] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR | 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 335 Motor Vehicle 371 Truth in Lending Act |_] 485 Telephone Consumer
[x] 190 Other Contract Product Liability [_] 380 Other Personal | ]720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability iy 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV

196 Franchise

REAL PROPERTY

|_| 362 Personal Injury -

CIVIL RIGHTS

CJ 385 Property Damage
Product Liability

Injury

Medical Malpractice

PRISONER PETITIONS

740 Railway Labor Act
751 Family and Medical
Leave Act
790 Other Labor Litigation

 

|_|210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
|] 290 All Other Real Property

 

 

a

| 448 Education

440 Other Civil Rights Habeas Corpus:

441 Voting | 463 Alien Detainee
442 Employment 510 Motions to Vacate
-) 443 Housing! Sentence
Accommodations | | 530 General
|] 445 Amer. w/Disabilities -[~] 535 Death Penalty
Employment Other:
|] 446 Amer. w/Disabilities -[—] 540 Mandamus & Other
Other 550 Civil Rights

455 Prison Condition

460 Civil Detainee -
Conditions of
Confinement

 

791 Employee Retirement
Income Security Act

862 Black Lung (923)

864 SSID Title XVI
[_] 865 RSI (405(g))

863 DIWC/DIWW (405(g)) |__

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

3

 

ITS.

 

895 Freedom of Information

 

FEDERAL TAX SU

[_] 870 Taxes (U.S. Plaintiff
or Defendant)

[] 871 IRS—Third Party

 

IMMIGRATION

462 Naturalization Application
465 Other Immigration

Actions

 

26 USC 7609

 

Act
896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
| 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X” in One Box Only)

[x]! Original [_]2 Removed from oO 3. Remanded from o4 Reinstated or [-] 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

VIL. REQUESTED IN
COMPLAINT:

28 U.S.C. 1332
Brief description of cause:

 

[x] CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VUI. RELATED CASE(S)

DEMAND $

Cite the U.S, Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):

Defendant breached express warranty by charging inspection fee to diagnose known safety issue.

CHECK YES only if demanded in complaint:

JURY DEMAND:

 

L]yYes | No

 

 

(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
1/3/22 is! Joseph G, Sauder
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP

 

JUDGE

MAG, JUDGE
